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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

KEYCORP, LLC,                                  §
                                               §
                Plaintiff,                     §
                                               §
v.                                             §
                                               §
                                                         CIVIL ACTION NO. 3:16-cv-2930
GIGI'S HOLDINGS, LLC AND GIGI'S                §
FRANCHISING, LLC n/k/a A&G                     §
FRANCHISING, LLC,                              §
                                               §
                Defendants.                    §


                                 NOTICE OF DISMISSAL


        Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff KeyCorp, LLC

("Plaintiff") files this Notice of Dismissal and respectfully requests that the above-captioned

lawsuit be dismissed without prejudice. Plaintiff filed its Original Complaint on October 18,

2016. None of the defendants have been served, and none of the defendants have served or filed

an answer or motion for summary judgment. See FED. R. CIV. P. 41(a)(1)(A). Plaintiff files this

notice of dismissal with the intention of dismissing the case under Rule 41(a)(1)(A)(i) without

prejudice to refiling.




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                                   Respectfully submitted,


                                   /s/ C. Scott Jones
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                                   ATTORNEYS FOR PLAINTIFF KEYCORP,
                                   LLC




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